                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:21-CV-271-BO


DIANE HAMMOND,                                )
                                              )
                       Plaintiff,             )
                                              )
V.                                            )                      ORDER
                                        )
STEPHEN HAMMOND, as Personal            )
Representative of the Estate of Michael )
Hammond; and STEPHEN HAMMOND, in )
his individual capacity;                )
                                        )
                       Defendants.      )



        This interpleader action is before the Court on plaintiff Diane Hammond' s motion to

disburse interpleaded funds. No response to the motion has been filed, and the time for doing so

has expired. 1 Default judgment was entered against defendant Stephen Hammond on March 16,

2022. The motion for disbursement of the interpleaded funds [DE 23] is GRANTED.

       Pursuant to the order awarding costs to the interpleader-plaintiffs 5Star Life Insurance

Company and Armed Forces Benefit Association, [DE 14], the Clerk of Court is DIRECTED to

disburse $402.00 payable to counsel for the interpleader-plaintiffs, Attorney David Dill with

Nelson Mullins Riley & Scarborough, LLP, Greenville ONE, 2 W. Washington Street, Suite 400,

Greenville, South Carolina 29601. The Clerk of Court is further DIRECTED to disburse the

remaining principal, $400,253.37, together with interest accruing on deposit and less any

administrative costs associated with the Court's deposit and retention of said funds , to counsel for



1
 The motion for disbursement was served on Hammond despite default judgment having been
entered.



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plaintiff Diane Hammond, Attorney John Kirby with the Law Offices of John M. Kirby, PLLC,

4801 Glenwood Avenue, Suite 200, Raleigh, North Carolina 27612.




SO ORDERED, this _(_ day of July 2022.




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                                         TERRENCE W. BOYLE
                                         UNITED STATES DISTRICT
                                                                       1

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